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                               EXHIBIT A
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                                          Document 1-1                 Filed 04/04/25                 Page 2 of 2 Pa
                Museum...SERVICEs"
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                                                                                          OJ1e:._ _ _ __



          Matth31.2025


          To: ALL IMLS Employee,

          From: Di~ofl-tuman Rc:sourtics

          Re: Admini.iintivc Leave for IMLS Emplo)'ffl:

                   This is 10 infonn you lNl you are being pf.aetd on admini$Uativc leave (i:e•• non-dul)'
          p.,id $tatUS) swtingMonday, Mucll 31. 2025. up eoa pcriodof90-days.. You w1U_ be on
          admini$1n11h't leave "ilh full pay 1M benefits. This ldininistra1i,·c leave is not being done for
          any diteiplirury purpose.

                    While )'OU arc on adminisuati,'t leave. you are not permlticd on IMLS premises. I regrtt
          that such din:ccions are neiec,wy, but we must safeguard legjtimarc IMLS interests and systems.
          If you wish to en1C'I' lMLS pmniSC$ forofnciaJ JMLS business. you must first oontaiet me to
          fflltlgt: your visit.

                Wlule )'OU .c ()Cl administrative ka,-e, OliR will handle your time and attendance. Your
          ~ail wiU be suspended. You can rcacfl me It my desk number, 202-6S)-4728. or via email:
          adoLmlfi'irnk sov
                   Pbk: mckrstand that this action is oot punitive but r1thcr is taken to facililatc the work
          and opcmions ofthe agency. YOVt pay and bcnerics will nee. be aJTcctcd ltnd will continue
          d<.riog lh~ period.

                 Plea$e: CCtUct me ifyou ha,-e any qucstioos .bout this lcutt.


          Sinocrtly,




          An1.oine L Douon
          Dit't'CU)f of Hwnan RC$10WCCS
